                           NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                       AUG 27 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,                       No. 24-415
                                                D.C. No.
             Plaintiff - Appellee,              1:23-cr-00041-SPW-TJC-8
 v.
                                                MEMORANDUM*
RODERICK PLENTYHAWK,

             Defendant - Appellant.

                   Appeal from the United States District Court
                           for the District of Montana
                    Susan P. Watters, District Judge, Presiding

                           Submitted August 20, 2024**

Before:      S.R. THOMAS, RAWLINSON, and COLLINS, Circuit Judges.

      Roderick Plentyhawk appeals from the district court’s judgment and

challenges his guilty-plea convictions and aggregate 300-month sentence for

possession with intent to distribute methamphetamine, in violation of 18 U.S.C. § 2
and 21 U.S.C. § 841(a)(1), and being a prohibited person in possession of a


      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
firearm, in violation of 18 U.S.C. § 922(g)(1). Pursuant to Anders v. California,

386 U.S. 738 (1967), Plentyhawk’s counsel has filed a brief stating that there are

no grounds for relief, along with a motion to withdraw as counsel of record. We

have provided Plentyhawk the opportunity to file a pro se supplemental brief. No

pro se supplemental brief or answering brief has been filed.

      Plentyhawk waived his right to appeal his conviction and sentence. Our

independent review of the record pursuant to Penson v. Ohio, 488 U.S. 75, 80

(1988), discloses no arguable issue as to the validity of the waiver. See United

States v. Watson, 582 F.3d 974, 986-88 (9th Cir. 2009). We accordingly dismiss

the appeal. See id. at 988.

      Counsel’s motion to withdraw is GRANTED.

      DISMISSED.




                                        2                                   24-415
